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                 EXHIBIT B-094
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                                                                                     FILEDINOFFICE

                    IN THE SUPERIOR COURT OF FULTON COUNTY                           D
                                                                                          FULTON
                                                                                               COUNTY,
                                                                                                    GA
                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
                                              )       Judge Robert C. I. McBurney
                                              )


                          ORDER SETTING ASIDE AND STRIKING
                          CERTIFICATE OF MATERIAL WITNESS

       On September 2, 2022, a Certificate of Material Witness was erroneously filed with the

Clerk of Superior Court of Fulton County. The certificate, in its heading, referred to "In the Matter

of Witness Willie Lewis Floyd III" but, in its body, made reference to another witness, Lindsey

Olin Graham. Having determined that the certificate was filed and ente~ed in error, the Court

hereby ORDERS that the Ce11ificateof Material Witness filed on September 2, 2022, which refers

in its heading to "In the Matter of Witness Willie Lewis Floyd III" shall be set aside and stricken

from the record in this matter .

       .IT IS SO ORDERED this the 6th day of September, 2022.




                                                                               urney
                                                      Superior Court of Fulton County
                                                      Atlanta Judicial Circuit
                                                      State of Georgia
